        Case 2:07-cr-00086-FCD Document 30 Filed 08/22/07 Page 1 of 2


     LAW OFFICE OF DUNCAN M. JAMES
 1   C. DAVID EYSTER, State Bar No. 113115
     P.O. Box 1381
 2
     Ukiah, CA 95482
 3   Telephone: (707) 468-9271

 4   Attorney for Defendant SALVADOR CAMACHO LOPEZ

 5

 6

 7

 8                                UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10                                               ******
11
     UNITED STATES OF AMERICA,                     )         2:07-cr-0086-FCD
12                                                 )
                    Plaintiff,                     )         STIPULATION AND
13           v.                                    )         ORDER TO CONTINUE STATUS
                                                   )         CONFERENCE
14   JOSE FLORES LOPEZ,                            )
     ELISANDRO AMBRIZ-MUÑOZ,                       )
15   EDUARDO LLAMAS-MONTEZ, and,                   )
16   SALVADOR CAMACHO LOPEZ,                       )
                                                   )
17                  Defendants.                    )

18           Defendants, through counsel, and the United States of America, through Assistant United

19   States Attorney Heiko P. Coppola, agree that the Status Conference set for August 27, 2007, at
20
     10:00 a.m., be continued to October 1, 2007, at 10:00 a.m., before the Honorable Frank C.
21
     Damrell, Jr.
22
             In addition, it is agreed that the Court should find excludable time through
23
     October 1 ,2007, pursuant to Local Rules T-2 and T-4.
24
     /////
25

26
                                                       -1-
       Case 2:07-cr-00086-FCD Document 30 Filed 08/22/07 Page 2 of 2


                                        Respectfully Submitted,
 1
     Dated: August 22, 2007
 2
                                        /s/ C. David Eyster
 3                                      C. DAVID EYSTER, Attorney for
                                        SALVADOR CAMACHO LOPEZ, Defendant
 4
     Dated: August 22, 2007
 5                                      /s/ Gilbert A. Roque
                                        GILBERT A. ROQUE, Attorney for
 6                                      ELISANDRO AMBRIZ-MUNOZ, Defendant
 7
     Dated: August 22, 2007
 8                                      /s/ Roy E. Miller
                                        ROY E. MILLER, Attorney for
 9                                      JOSE FLORES LOPEZ, Defendant

10   Dated: August 22, 2007
                                        /s/ Shari Rusk
11
                                        SHARI RUSK, Attorney for
12                                      EDUARDO LLAMAS-MONTES, Defendant

13   Dated: August 22, 2007
                                        /s/ Heiko P. Coppola
14                                      HEIKO P. COPPOLA
                                        Assistant United States Attorney
15

16         IT IS SO ORDERED.

17   DATED: August 22, 2007

18

19
                                  _______________________________________
20
                                  FRANK C. DAMRELL, JR.
21                                UNITED STATES DISTRICT JUDGE

22

23

24

25

26
                                          -2-
